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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:14-CR-00083 GEB

12                                Plaintiff,             [PROPOSED] ORDER SEALING DOCUMENTS
                                                         AS SET FORTH IN GOVERNMENT’S NOTICE
13                          v.

14   ALEKSANDR MASLOV,

15                                Defendant.

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17
            Pursuant to Local Rule 141(b) and based upon the representation contained in the government’s
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     Request to Seal, IT IS HEREBY ORDERED that the three-page supplemental report regarding
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     defendant’s competency, pertaining to defendant ALEKSANDR MASLOV, and the government’s
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     Request to Seal shall be SEALED until further order of this Court.
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            It is further ordered that access to the sealed documents shall be limited to the government and
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     counsel for the defendant.
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            The Court has considered the factors set forth in Oregonian Publ’g Co. v. United States Dist.
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     Court, 920 F.2d 1462 (9th Cir. 1990) and In re Copley Press, Inc., 518 F.3d 1022, 1028 (9th Cir. 2008).
25
     The Court finds that, for the reasons stated in the government’s request, sealing the three-page
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     supplemental report serves a compelling interest. The Court further finds that, in the absence of closure,
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     the compelling interests identified by the Government would be harmed. The Court further finds that
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      [PROPOSED] ORDER SEALING DOCUMENTS AS SET          1
30    FORTH IN GOVERNMENT’S NOTICE
             Case 2:14-cr-00083-DJC Document 222 Filed 10/31/17 Page 2 of 2

 1 there are no additional alternatives to sealing the three-page supplemental report that would adequately

 2 protect the compelling interests identified by the government.

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     Dated: October 31, 2017
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      [PROPOSED] ORDER SEALING DOCUMENTS AS SET         2
30    FORTH IN GOVERNMENT’S NOTICE
